Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 1 of 6 Page ID #:25




                            EXHIBIT 1
     Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 2 of 6 Page ID #:26




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12
                              SUPERIOR COURT OF THE STATE OF CALIFORNIA
13
                      FOR THE COUNTY OF SANTA BARBARA-ANACAPA DIVISION
14

15     THE ARMAND HAMMER FOUNDATION,                  )         Case No.
       INC., a Florida Not For Profit Corporation,    )         Judge:
16                                                    )
                                    Plaintiffs,       )         DECLARATION OF DAVID SMITH IN
17                                                    )         SUPPORT OF ORDER TO SHOW CAUSE FOR
       vs.                                            )         TEMPORARY RESTRAINING ORDER
                                                      )
       REX K. ALEXANDER, an individual, MISTY )
19     HAMMER, an individual, MARK L. ALFANO, )
       an individual, BULL CANYON, INC., a            )
20     California Corporation, and DOES 1 through 50, )
       inclusive                                      )
21                                                    )
22     - - - - - - - - - - - - - - - -)
                                    Defendants.

23            I, David Richard Smith, declare:

24             1.     I make this declaration on personal knowledge. If called on to do so, I could and would

25     testify competently to the contents of this declaration.

26            2.      I first met Michael Hammer over twenty-five years ago. He was my friend and I cared

27     about him very much.

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                                                            1
                                            DECLARATION OF DAVID SMITH
                                                                               EXHIBIT "4"
 Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 3 of 6 Page ID #:27




 1          3.      I was hired by Michael Hammer as his personal assistant in or about 1999, and I was

 2   made the Chief Administrator, Head of Security for The Armand Hammer Foundation, Inc.

 3   ("Foundation") in or about 2006. So for the better part of sixteen (16) years, I primarily worked out of

 4   the Foundation office, located at 3501 Via Real, Carpentaria, California.

 5          4.      I have observed concerning actions by Rex Alexander and Mark Alfano.

 6          5.      For as long as I can remember, artwork belonging to the Foundation, that I am informed

 7   and believe to be valued in the millions, has been stored at the Foundation office.

 8          6.      During the period of October and November 2022, Mark Alfano relocated valuable

 9   pieces of art owned by the Foundation to a separate warehouse.

10          7.      Mark Alfano told the woman who has cleaned the Foundation office every Monday and

11   Thursday for the past ten years to not come in for work because Mark was "moving things." Mark

12   Alfano also brought in a moving crew to relocate art belonging to the Foundation.

13          8.      I have also noticed Mark Alfano retrieving mail from the Foundation's postal box across

14   the street from the California Foundation office. It is unusual for Mark Alfano to be retrieving mail for

15   the Foundation. When I looked at the mail Mark Alfano brought into the office, I noticed a letter from

16   U.S. Bank addressed to Mark Alfano's attorney, Jeff Katofsky, regarding the formation of Padaro

17   Collection LLC.

18          9.      On November 1, 2022, Rex Alexander called me to tell me that I was being terminated

19   from the Foundation as of December 31, 2022.

20          10.     The next day, on November 2, 2022, I showed up to the Foundation office for work, and

21   I was locked out. The locks had been changed and my door clicker did not work.

22          11.     I believe Mark Alfano locked me out of the office because I was concerned about and

23   looking into his relocation of Foundation art.

24          12.     Mark Alfano previously locked me out of the Foundation office in 2019 when Mark

25   Alfano was a defendant in an insurance fraud prosecution.

26          13.     Since the date on which Rex Alexander conveyed that I would be terminated, I have had

27   my access to the Foundation computer system revoked, that system includes access to the inventory of

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                                                         2
                                         DECLARATION OF DAVID SMITH
     Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 4 of 6 Page ID #:28




 1     Foundation art.

 2             14.    On November 25, 2022, Viktor Hammer, who had been elected President of the

 3     Foundation by the Foundation Board that day, instructed me to secure the Foundation office and to call

 4     a locksmith in the case that I was unable to gain entry to the office.

 5             15.    I showed up at the Foundation office the morning of November 25, 2022 with Mike

 6     McGrew, a retired Santa Barbara police officer and long-time friend of the late Michael Hammer. The

 7     gate arm was closed, and the codes had been changed.

 8             16.    At Viktor Hammer's instruction, Mike McGrew called a locksmith company, to open

 9     the gate.

10             17.    The locksmith opened the gate, and Mike McGrew and I drove past the gate.

11             18.    Not long thereafter, two police vehicles arrived. A police officer told us that someone

12     called the police alleging that Mike McGrew and I were trespassing. I told the police officer that

13     Viktor Hammer, the President of the Foundation, authorized us to be at the Foundation office and to

14     take these actions.

15             19.       Mark Alfano then arrived at the Foundation office as a passenger in another man's

16     vehicle. I recognized the driver as one of Mark Alfano's confidants, Cecil Kyte.

17             20.       The police separated Mike McGrew and I to ask us questions. I told the police officer

18     that I am employed by the Foundation as the Chief Administrator, Head of Security.

19             21.       The police officer told me that he had a conversation with Misty Hammer, and she told

20     him that I no longer work for the Foundation.
21             22.       The police officers escorted Mike McGrew and I off the Foundation property, and he

22     instructed us not to return until we have documentation, such as a court order, that authorizes us to be

23     at the Foundation office.

24             23.       I complied with the police officers' instructions and left the premises.

25             I declare under penalty of perjury under the laws of the State of California that the foregoing is
26     true and correct. Executed this 2_ day of December, 2022.

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28
                                                         -AJJ~3
                                              DECLARATION OF DAVID SMITH
 Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 5 of 6 Page ID #:29




 1                                              David Smith

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                                DECLARATION OF DAVID SMITII
Case 2:23-cv-01215-FLA-SK Document 1-1 Filed 02/17/23 Page 6 of 6 Page ID #:30



All lPlUlrpose Acknowledgement

State of U   "T79 c/
Countyof     ltTJ4    f-JL

On~                      f-1,
                     (date)
                                 7-!IJZZ- , before me,         GVZ--l    'c_ ~     QJ.c; U
                                                                                    (notary)
                                                                                               t=

personally appeared.~              V' ( Q    J2.,c---ka 1v-d            ~LT"\,+
                                                                  (signers)

D   personally known to me -- OR --              ·It:!- proved to me on the basis of satisfactory evidence to be
                                                     the person(s) whose name(s) is/are subscribed to the
                                                     within instrument and acknowledged to me that
                                                     he/she/they executed the same in his/her/their authorized
                                                     capacity(ies), and that by his/her/their signature(s) on the
                                                   - instrument the. person(s) or the entity upon behalf of
                     LORIE WRIGHT                    which the person(s) acted, executed the instrument
              NOTARY PUBLIC• STA1E OF UTAH
               My Cmssion Expires May 26, 2024
                 COMMISSION NU~rnER 712184

                (seal)
